
The People of the State of New York, Respondent,
againstMaureen Murphy-Smolka, Appellant.




Sussman &amp; Associates (Michael H. Sussman of counsel), for appellant.
Orange County District Attorney (Andrew R. Kass of counsel), for respondent.

Appeal from a judgment of the Justice Court of the Town of Wawayanda, Orange County (Timothy P. McElduff, Jr., J.), rendered June 7, 2017. The judgment convicted defendant, after a nonjury trial, of disorderly conduct, and imposed sentence.




ORDERED that the judgment of conviction is affirmed.
Defendant was charged in an accusatory instrument with disorderly conduct (Penal Law § 240.20 [5]). Following a nonjury trial, defendant was convicted as charged. 
For the reasons stated in People v Cromwell (___ Misc 3d ____, 2019 NY Slip Op ____ [appeal No. 2017-1310 OR CR], decided herewith), the judgment of conviction is affirmed.
ADAMS, P.J., RUDERMAN and EMERSON, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: June 13, 2019










